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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

CARLTON BROWN                                     §
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §
                                                  §       CIVIL ACTION NO. 4:16-cv-02861
NATIONWIDE GENERAL INSURANCE                      §
COMPANY                                           §
                                                  §
        Defendant.                                §
                                                  §

                AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Carlton Brown (“Plaintiff”) and Defendant Nationwide General Insurance

Company (“Defendant”) hereby files this Agreed Stipulation of Dismissal With Prejudice

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

        1.      Plaintiff filed suit against Defendant related to an insurance claim for property

damage allegedly caused by a storm that occurred on or about May 13, 2016.

        2.      Plaintiff and Defendant have since resolved their differences to their mutual

satisfaction.

        3.      Plaintiff moves to dismiss the entire suit with prejudice. Defendant agrees to the

dismissal.

        4.      This case is not a class action, and a receiver has not been appointed.

        5.      This dismissal is with prejudice. The parties will bear their own costs of suit.




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Respectfully submitted,



  \s\ Richard D. Daly                               /s/ Patrick M. Kemp
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ATTORNEY FOR PLAINTIFF
CARLTON BROWN                                       ATTORNEYS FOR DEFENDANT
                                                    NATIONWIDE GENERAL INSURANCE
                                                    COMPANY




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
electronically via CM/ECF on this the 3rd       February ____
                                         ___ of _________,  2016 to:
                                                          2017
Richard D. Daly
Sheldon Wayne
Daly & Black, P.C.
2211 Norfolk St., Suite 800
Houston, Texas 77098

                                            /s/ Patrick M. Kemp
                                            Patrick M. Kemp




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